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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                 Case No. 1:18-CV-00182-JFK
City of New York,
                                      Plaintiff,

          against

BP P.L.C. et al.,                     Defendant.

                                         NOTICE OF CHANGE OF ADDRESS

TO:      ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES


✔        I have cases pending                                             I have no cases pending

Pursuant to Local Rule 1.3 of this Court, please take notice of the following attorney information change (s) for:


                               DIOGENES P. KEKATOS
                                      FILL IN ATTORNEY NAME

My SDNY Bar Number is: DPK-2162                    My State Bar Number is 1898311

I am,
          ✔         An attorney
                    A Government Agency attorney
                    A Pro Hac Vice attorney

FIRM INFORMATION (Include full name of firm (OLD AND NEW ), address, telephone number and fax number):

OLD FIRM:           FIRM   NAME: Seeger Weiss LLP
                    FIRM   ADDRESS: 55 Challenger Road, 6th Fl., Ridgefield Park, NJ 0766
                    FIRM   TELEPHONE NUMBER: 973-639-9100
                    FIRM   FAX NUMBER: 973-639-9393

NEW FIRM:           FIRM   NAME: Seeger Weiss LLP
                    FIRM   ADDRESS: 77 Water Street, 8th Fl., New York, NY 10005
                    FIRM   TELEPHONE NUMBER: 212-584-0700
                    FIRM   FAX NUMBER: 212-584-0799

         ✔          I will continue to be counsel of record on the above entitled case at my new firm/agency.


                    I am no longer counsel of record on the above entitled case. An order withdrawing my appearance
                    was entered on                   by Judge                                .


Dated: 5/10/2018                                        /s/ Diogenes P. Kekatos
                                                        ATTORNEY’S SIGNATURE
